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                IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,          :
                                   :
                Plaintiff,         :
                                   :          CRIMINAL ACTION
          vs.                      :
                                   :          NO. 1:02-CR-103-01-JOF
HENRY OTTO MOREAU, III,            :
                                   :
                Defendant.         :

                      SATISFACTION OF MONETARY
                         PORTION OF JUDGMENT

     The special assessment, fine and/or restitution portion of

the judgment in the above entitled case having been paid, the

Clerk of the United States District Court for the Northern

District of Georgia is hereby authorized and empowered to satisfy

and cancel said portion of record.
                                 Respectfully submitted,
                                 DAVID E. NAHMIAS
                                 UNITED STATES ATTORNEY


                                 /s/Cynthia B. Smith
                                 CYNTHIA B. SMITH
                                 ASSISTANT UNITED STATES ATTORNEY
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                       CERTIFICATE OF SERVICE



This is to certify that I have this day electronically filed the

within and foregoing document with the Clerk of Court using the

CM/ECF system and that I have served the following non-CM/ECF

participant(s) by depositing a copy of the same in the United

States mail addressed as follows:

                Henry Otto Moreau, III
                1197 Tom Kyzar Road
                Morton, MI 39117

This 1st day of September, 2005.

                                 /s/Cynthia B. Smith
                                 CYNTHIA B. SMITH
                                 Assistant U.S. Attorney
                                 cynthia.smith2@usdoj.gov
